  Case 4:24-cv-00863    Document 19     Filed on 01/28/25 in TXSD   Page 1 of 24
                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                                                                          January 28, 2025
                     UNITED STATES DISTRICT COURT
                                                                         Nathan Ochsner, Clerk
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

                               §
Alison Welski,                 §
                               §
           Plaintiff,          §
                               §                Civil Action No. 4:24-cv-00863
v.                             §
                               §
The University of Texas Health §
Science Center, 1              §
                               §
           Defendant.          §
                               §

               MEMORANDUM AND RECOMMENDATION

      In this disability discrimination suit, Defendant The University of Texas

Health Science Center at Houston (“the Center”) filed a motion under Fed. R.

Civ. P. 12 to dismiss all of Plaintiff Alison Welski’s claims. Dkt. 9. The case

was referred to the undersigned judge. Dkt. 16. After carefully considering

the motion, Welski’s response, Dkt. 12, the Center’s reply, Dkt. 15, the

pleadings, and the applicable law, it is recommended that the Center’s motion

to dismiss (Dkt. 9) be granted.




1 In its motion to dismiss, the Center noted that Welski sued the Center under this

incorrect name. See Dkt. 9 at 1. The correct name is used above and elsewhere
herein. See id.
  Case 4:24-cv-00863    Document 19     Filed on 01/28/25 in TXSD   Page 2 of 24




                                   Background

      The following facts are taken from the complaint. They are accepted as

true at this stage.

      Welski was a graduate student at the UT Health Houston School of

Public Health (“UT Health”). See Dkt. 1 at 1. She began her doctoral studies

in Health Promotion and Behavioral Sciences in the Fall of 2018. See id. at 3.

      In the months leading up to the Fall of 2020, Welski developed severe

kidney issues, partly due to the stresses of the program. Id. These issues

required several hospitalizations and surgery. Id. When not hospitalized,

Welski was bedridden for stretches of time. Id. Her conditions included renal

stones, renal infections, and deep vein thrombosis. Id. at 3-4. These medical

issues substantially limited her ability to sit, stand, walk, and lift, in part due

to episodic back pain. Id. at 4.

      Because of her medical conditions, Welski requested accommodations

during the Fall of 2020. Id. These accommodations included (1) a laptop with

speech-to-text software, (2) sufficient time to complete her work because of her

medical conditions, and (3) an opportunity to make up work she was unable to

complete during periods of hospitalization or incapacitation.         Id.   Welski

provided the Center with documentation from her treating physicians that

explained her conditions and her need for appropriate accommodations. Id.




                                        2
  Case 4:24-cv-00863   Document 19    Filed on 01/28/25 in TXSD   Page 3 of 24




      The Center provided Welski a laptop with speech-to-text software, as she

requested. Id. But Welski asserts that the software did not function properly.

Id.   She maintains that professors refused to believe she had a medical

condition that constituted a disability. Id. at 4-5. One professor, Dr. Kimberly

Lopez, accused Welski of lying about her medical condition and failed her in a

class because she did not believe that Welski had been hospitalized when she

said she was. Id. at 5. Welski contends that Dr. Lopez also tried to persuade

Welski to admit that she was lying about the incident, telling Welski that she

“would be unable to move forward with the program” absent such an

admission. See id.

      Dr. Susan Tortolero Emery, the Dean of Students, acknowledged the

documentation from Welski’s physicians but “challenged its sufficiency.” Id.

Welski’s advisor, Dr. Maria Fernandez, allegedly treated the matter

dismissively, telling Welski that she was “catastrophizing” and “making

herself sick” and “encouraged her colleagues to do the same.” Id. at 5-6.

      Welski’s health continued to deteriorate, leading to a heart attack that

she attributes to the actions of UT Health’s professors and administrators.

Id. at 6. Due to her worsening condition and the Center’s alleged failure to

provide appropriate accommodations, Welski could not complete certain




                                       3
  Case 4:24-cv-00863    Document 19     Filed on 01/28/25 in TXSD   Page 4 of 24




courses. 2 See id. On March 8, 2022, Dr. Emery notified Welski that she was

being dismissed from the program. Id.

      On March 7, 2024, Welski filed this suit against the Center, asserting

claims under Title II of the American with Disabilities Act (“ADA”), 42 U.S.C.

§ 12132, and Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794.

See id. at 7-8. Subsequently, the Center filed its motion to dismiss, Dkt. 9,

Welski responded, Dkt. 12, and the Center replied, Dkt. 15. The motion is ripe

for resolution.

                               Legal standards

      A.    Rule 12(b)(1)

      “Under Rule 12(b)(1), a claim is ‘properly dismissed for lack of subject-

matter jurisdiction when the court lacks the statutory or constitutional power

to adjudicate’ the claim.” In re FEMA Trailer Formaldehyde Prods. Liab.

Litig., 668 F.3d 281, 286 (5th Cir. 2012) (quoting Home Builders Ass’n, Inc. v.

City of Madison, 143 F.3d 1006, 1010 (5th Cir. 1998)). “Lack of subject-matter

jurisdiction may be found in the complaint alone, the complaint supplemented

by the undisputed facts as evidenced in the record, or the complaint

supplemented by the undisputed facts plus the court’s resolution of the




2 According to the Center, Welski failed to enroll for three consecutive semesters.

Dkt. 9 at 5. Because the complaint does not include that allegation, the Court
disregards it.


                                        4
  Case 4:24-cv-00863     Document 19    Filed on 01/28/25 in TXSD    Page 5 of 24




disputed facts.” Id. at 287. The plaintiff bears the burden to establish that

subject-matter jurisdiction exists. Id. at 286.

      B.    Rule 12(b)(6)

      Dismissal under Rule 12(b)(6) is warranted if a party fails “to state a

claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). To survive a

Rule 12(b)(6) motion to dismiss, a plaintiff must plead “enough facts to state a

claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007). “A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (citing Twombly, 550 U.S. at 556).

      “Threadbare recitals of the elements of a cause of action, supported by

mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678. Rather,

“[t]he complaint (1) on its face (2) must contain enough factual matter (taken

as true) (3) to raise a reasonable hope or expectation (4) that discovery will

reveal relevant evidence of each element of a claim.” See Lormand v. U.S.

Unwired, Inc., 565 F.3d 228, 257 (5th Cir. 2009) (analyzing Twombly, 550 U.S.

at 555-56). When resolving a Rule 12(b)(6) motion, the court “accept[s] all well-

pleaded facts as true and view[s] those facts in the light most favorable to the

plaintiffs.” Gonzalez v. Kay, 577 F.3d 600, 603 (5th Cir. 2009) (quotation

omitted).


                                         5
     Case 4:24-cv-00863   Document 19   Filed on 01/28/25 in TXSD   Page 6 of 24




                                    Analysis

I.      Welski has not pleaded sufficient facts to overcome the Center’s
        sovereign immunity, which bars her Title II ADA claim.

        The Center argues that, as part of the University of Texas System, it is

entitled to sovereign immunity that divests this Court of jurisdiction over

Welski’s claim under Title II of the ADA. See Dkt. 9 at 3. Invoking United

States v. Georgia, 546 U.S. 151, 159 (2006), the Center argues that Welski

cannot satisfy the second and third steps of the three-part inquiry, as necessary

to show that Title II’s abrogation of sovereign immunity can be enforced.

See id. at 3-6.

        Welski does not dispute the governing framework. Instead, she asserts

that her Title II claim survives dismissal under Pickett v. Texas Tech

University Health Sciences Center, 37 F.4th 1013, 1025-26 (5th Cir. 2022). See

Dkt. 12 at 11-12. According to Welski, Pickett merely requires her to plead

how the Center “departed substantially from accepted academic norms in

failing to grant the reasonable accommodations she requested.” Id. at 12.

        A.    Sovereign immunity framework

        “Under the Eleventh Amendment, federal courts lack jurisdiction over

suits against nonconsenting states.” Block v. Tex. Bd. of L. Exam’rs, 952 F.3d

613, 617 (5th Cir. 2020).        That sovereign immunity extends to state

instrumentalities, including health institutions that are part of a state’s public



                                        6
  Case 4:24-cv-00863    Document 19    Filed on 01/28/25 in TXSD   Page 7 of 24




university system. See Rudison v. MD Anderson Cancer Ctr., 91 F.4th 788,

789 (5th Cir. 2024) (“[W]e have consistently treated health institutions of the

UT System ... as instrumentalities of the State of Texas.”) (quoting Daniel v.

Univ. of Tex. Sw. Med. Ctr., 960 F.3d 253, 257 (5th Cir. 2020)). As part of the

University of Texas System, the Center is entitled to sovereign immunity.

See Watson v. Univ. of Tex. Health Sci. Ctr., 2009 WL 1476469, at *1 (S.D. Tex.

May 27, 2009); see also, e.g., Sullivan v. Univ. of Tex. Health Sci. Ctr. at Hous.

Dental Branch, 217 F. App’x 391, 392 (5th Cir. 2007) (per curiam) (UTHSC, as

an arm of the state, enjoys sovereign immunity).

      Congress can abrogate a state’s sovereign immunity if it (1) clearly states

its intention in the statute and (2) acts under Section Five of the Fourteenth

Amendment. See Block, 952 F.3d at 617 (citing Nev. Dep’t of Human Res. v.

Hibbs, 538 U.S. 721, 726 (2003)).            Here, the first requirement is

straightforward: Congress expressly declared that states “shall not be

immune” from suit for violating the ADA. 42 U.S.C. § 12202. This statement

amounts to “an unequivocal expression of Congress’s intent to abrogate state

sovereign immunity.” Georgia, 546 U.S. at 154.

      Whether Title II’s abrogation of sovereign immunity comports with

Section Five of the Fourteenth Amendment is more complex. For this inquiry,

the Supreme Court has established a three-part test that must be evaluated

on a claim-by-claim basis:


                                        7
  Case 4:24-cv-00863    Document 19    Filed on 01/28/25 in TXSD   Page 8 of 24




            (1)   which aspects of the State’s alleged conduct
                  violated Title II;
            (2)   to what extent such misconduct also violated the
                  Fourteenth Amendment; and
            (3)    insofar as such misconduct violated Title II but
                  did not violate the Fourteenth Amendment,
                  whether Congress’s purported abrogation of
                  sovereign immunity as to that class of conduct is
                  nevertheless valid.
Georgia, 546 U.S. at 159; see also Block, 952 F.3d at 617 (applying Georgia’s

three-part test). Under Fifth Circuit precedent, courts must “address those

questions in that order.” Pickett, 37 F.4th at 1026 n.2 (citing Block, 952 F.3d

at 617-18, 618 n.12). As the party invoking the Court’s jurisdiction, Welski

bears the burden to show that each requirement is met. See id. at 1026.

            1.    Welski has pleaded plausible Title II violations.

      The first step determines if Welski has stated a Title II violation. This

involves a Fed. R. Civ. P. 12(b)(6) analysis. See Hale v. King, 642 F.3d 492, 498

(5th Cir. 2011). Accordingly, the Court takes Welski’s well-pleaded allegations

as true and views them in the light most favorable to her.

      To assert a valid Title II claim, Welski must allege: “(1) that [she] is a

qualified individual with a disability; (2) that [she] was excluded from

participation in, or denied the benefits of, services, programs, or activities for

which the public entity is responsible, or was otherwise being discriminated

against; and (3) that such discrimination is because of [her] disability.” Luke

v. Texas, 46 F.4th 301, 305 (5th Cir. 2022). This Court has also adapted the

                                        8
  Case 4:24-cv-00863     Document 19     Filed on 01/28/25 in TXSD   Page 9 of 24




foregoing elements for cases where a student was “excluded from an

educational program.” Maples v. Univ. of Tex. Med. Branch at Galveston,

901 F. Supp. 2d 874, 879 (S.D. Tex. 2012), aff’d, 524 F. App’x 93 (5th Cir. 2013)

(per curiam). In that context, a plaintiff must show that: “(1) [s]he has a

[qualifying] disability; (2) [s]he is otherwise qualified to participate in the

defendant’s program; and (3) [s]he was excluded from the program on the basis

of [her] disability.” Id. (quoting Halpern v. Wake Forest Univ. Health Scis., 669

F.3d 454, 461 (4th Cir. 2012)).

      The Center does not dispute that Welski has adequately alleged a Title

II violation. 3   See Dkt. 9 at 4.   But in the interests of completeness, the

undersigned addresses the allegations briefly and concludes that the Title II

claim is plausibly alleged.

      For the first requirement, Welski has sufficiently alleged a qualifying

disability.   A “disability” is (1) a physical or mental impairment that

substantially limits one or more of the major life activities, (2) a record of such

impairment, or (3) being regarded as having such impairment. 42 U.S.C.

§ 12102(1). “[M]ajor life activities include, but are not limited to, caring for

oneself, performing manual tasks, seeing, hearing, eating, sleeping, walking,


3 The Center also contends that Welksi’s Title II ADA claim is time-barred, see Dkt.

9 at 7, but it does not assert that the untimeliness of that claim has any bearing on
the Center’s sovereign immunity. Because the statute of limitations is an affirmative
defense, it is more appropriately viewed as a merits issue.


                                         9
  Case 4:24-cv-00863    Document 19    Filed on 01/28/25 in TXSD   Page 10 of 24




standing,   lifting,   bending,   speaking,    breathing,    learning,   reading,

concentrating, thinking, communicating, and working.” Id. § 12102(2)(A). In

addition, “[t]he definition of disability ... shall be construed in favor of broad

coverage ....” 42 U.S.C. § 12102(4)(A).

      Here, the complaint details Welski’s severe kidney issues and related

medical conditions, including renal stones, renal infections, and deep vein

thrombosis. Dkt. 1 at 3-4; see 42 U.S.C. § 12102(1). She alleges that these

impairments rendered her bedridden at times and substantially limited her

“ability to sit, to stand, to walk, and to lift,” due to intense and episodic back

pain. See Dkt. 1 at 4. Welski’s allegations sufficiently show that she had a

disability because the foregoing medical conditions impaired her ability to

engage in several major life activities.

      Welski’s allegations also meet the second requirement, as they show she

was qualified to participate in the Center’s program.         “To be ‘otherwise

qualified’ for a postsecondary education program, an individual with a

disability must satisfy the program’s ‘essential’ requirements, with or without

the aid of reasonable accommodations.” Shaikh v. Tex. A&M Univ. Coll. of

Med., 739 F. App’x 215, 220 (5th Cir. 2018) (per curiam) (citing McGregor v.

La. State Univ., 3 F.3d 850, 855 (5th Cir. 1993)). “A requirement is ‘essential’

if ‘the nature of the program would be fundamentally altered’ without it.’” Id.

(citations omitted).


                                       10
  Case 4:24-cv-00863   Document 19    Filed on 01/28/25 in TXSD   Page 11 of 24




      According to the Complaint, Welski’s credentials and qualifications,

including her prior work for the Centers for Disease Control and Prevention,

led UT Health to recruit her for their doctoral program in Health Promotion

and Behavioral Sciences. See Dkt. 1 at 2-3. Welski also alleges that she

satisfied the program’s requirement of having five years of prior work

experience in the public health field. Id. at 7. She maintains that it was the

Center’s denial of appropriate and reasonable accommodations, including use

of functioning speech-to-text software and additional time to complete her

work, that thwarted her pursuit of the doctoral degree. Id. at 2-3, 7. These

allegations plausibly indicate that Welski was “capable of satisfying the

academic and technical requirements set by the [UT Health] with the aid of

reasonable accommodations.” See McGregor, 3 F.3d at 855 (applying this test

to law student’s disability discrimination claim).

      Lastly, Welski has plausibly alleged that the Center dismissed her from

the doctoral program because of her disability. Welski alleges that the Center

took a “highly obstructionist approach” when she requested accommodations

for her disability. Id. at 4. She maintains that she received a non-functioning

laptop with speech-to-text software that did not “serve as an appropriate

accommodation.” Id. She also asserts that her professors “refused to believe

that she had a medical condition that rose to the level of a disability, despite

her documented evidence.” Id. at 5. And instead of being allowed to make up


                                       11
  Case 4:24-cv-00863   Document 19     Filed on 01/28/25 in TXSD   Page 12 of 24




work missed due to her hospitalization—an accommodation she requested—

one of her professors failed her in the class, refusing to believe that Welski had

been hospitalized.     Id.   Welski further alleges that when she sought

accommodations for her medical conditions, her advisor “treated the matter

dismissively” and “encouraged her colleagues to do the same.” Id. at 5-6.

      Welski maintains that the combined effects of these actions and failures

to grant accommodations rendered her unable to complete her courses, which

led the Center to dismiss her from the program. Id. at 6. This is enough to

plausibly allege a causal link between her disability and her dismissal. See

e.g., Shaikh, 739 F. App’x at 216, 223-24 (holding that causation for

Rehabilitation Act and ADA claims was adequately alleged where a medical

school constructively dismissed a student whose disability rendered him

unable to retake a test during the specified timeframe). Welski has adequately

pleaded a Title II claim.

            2.    Welski does not show how the Center’s conduct violated the
                  Fourteenth Amendment.

      For the next step, the Court determines whether the Center’s alleged

misconduct violated the Fourteenth Amendment. Georgia, 546 U.S. at 159.

Welski, despite her burden, offers no argument on this point.

      Instead, Welski argues that the Fifth Circuit’s decision in Pickett only

requires that she plead sufficient facts to show that the Center substantially



                                       12
  Case 4:24-cv-00863     Document 19    Filed on 01/28/25 in TXSD   Page 13 of 24




departed from accepted academic norms by refusing her requests for

accommodation. See Dkt. 12 at 11-12. As the Center responds, that is not

consistent with the Fifth Circuit’s analysis in Pickett. Dkt. 15 at 2-3.

        In Pickett, the Fifth Circuit addressed the first step of the Georgia test,

concluding that the plaintiff had “plausibly alleged defective accommodations

and invidious discrimination forbidden by Title II of the ADA.” 37 F.4th at

1037.       There, the defendant allegedly failed to provide requested

accommodations to a graduate nursing student with ADHD, treated the

student more poorly, and graded her more harshly after learning of her

disability, leading to her dismissal from the programs. See id. at 1033-34.

        Procedural irregularities, however, precluded the Fifth Circuit from fully

analyzing whether the plaintiff had adequately stated a Fourteenth

Amendment violation, under Georgia’s second step. See id. at 1036-37. The

plaintiff maintained that the defendant’s conduct violated her right to

substantive and procedural due process by “irrationally depriv[ing] her of a

constitutionally protected property interest ....”       Id. at 1035 (quotation

omitted).    This raised the question of whether “the Due Process Clause

protected her desire to continue her education at the Center.” Id. at 1036. But

the Fifth Circuit declined to reach this threshold issue, concluding “it is not

before us because the defendants have not preserved it for this appeal.” Id.;

see also Pickett v. Tex. Tech Univ. Health Scis. Ctr., 2024 WL 1590161, at *2


                                         13
  Case 4:24-cv-00863    Document 19     Filed on 01/28/25 in TXSD    Page 14 of 24




(N.D. Tex. Jan. 2, 2024) (making this observation on remand), adopted by 2024

WL 1048140 (N.D. Tex. Mar. 11, 2024), aff’d, 2024 WL 4973300 (5th Cir. Dec.

4, 2024).

      Instead, Welski cites the Fifth Circuit’s further observation that “it is

inappropriate to assume that Pickett had no interest protected by the Due

Process Clause because she plausibly pleaded Title II violations representing

a ‘substantial departure from accepted academic norms.’”            Dkt. 12 at 11

(quoting Pickett, 37 F.4th at 1037, which quoted Regents of the Univ. of Mich.

v. Ewing, 474 U.S. 214, 225 (1985)). From there, Welski assumes that, to

overcome sovereign immunity, she need only allege that the Center “departed

substantially from accepted academic norms in failing to grant the reasonable

accommodations she requested.” See id. at 12.

      Welski’s position fails to account for the defendant’s waiver in Pickett,

which circumscribed the Fifth Circuit’s analysis.         To state a due process

violation, a plaintiff must first identify a protected interest in “life, liberty, or

property.” See Shelton v. City of College Station, 780 F.2d 475, 479 (5th Cir.

1986) (en banc) (“Deprivation by the state of a protected interest in life, liberty,

or property is prerequisite to a claim for denial of due process.”). Because the

defendant in Pickett failed to properly challenge the existence of a protected

interest, the Fifth Circuit at most concluded that the plaintiff adequately

pleaded an arbitrary deprivation of a protected property interest, assuming


                                         14
  Case 4:24-cv-00863   Document 19    Filed on 01/28/25 in TXSD   Page 15 of 24




that one exists. See 37 F.4th at 1037. This is underscored by the Fifth Circuit’s

explicit statement authorizing the district court to “consider in the first

instance,” on remand, “whether Pickett’s claims implicate the Fourteenth

Amendment at all, provided that the defendants still wish to raise that

contention.” Id.

      These material distinctions foreclose Welski’s reliance on Pickett. Unlike

the plaintiff in Pickett, Welski has not pleaded any constitutional right that

allegedly was violated, much less under the Due Process Clause. And unlike

the defendant in Pickett, the Center has explicitly argued that Welski has no

constitutional right to continued higher education. See Dkt. 9 at 5. Other than

her mistaken reliance on Pickett, however, Welski offers no argument or

authority indicating that the Center’s conduct violated the Fourteenth

Amendment, as required under Georgia’s second step.

      Moreover, no binding authority has recognized a constitutionally

protected property right to continued higher education. The Supreme Court

has not resolved the issue, and the Fifth Circuit has not issued a published

decision on it either. See Ewing, 474 U.S. at 222-25; Pickett, 37 F.4th at 1035.

But the Fifth Circuit has provided notable guidance. On remand after Pickett,

the district court held that the plaintiff did not have a protected property

interest in continued higher education, which negated her substantive due

process claim under 42 U.S.C. § 1983. See Pickett, 2024 WL 1590161, at *17-


                                       15
  Case 4:24-cv-00863   Document 19    Filed on 01/28/25 in TXSD   Page 16 of 24




18.   The Fifth Circuit affirmed that conclusion, albeit in an unpublished

decision. See Pickett v. Tex. Tech Univ. Health Scis. Ctr., 2024 WL 4973300, at

*2 (5th Cir. Dec. 4, 2024) (per curiam) (holding that “continued enrollment” in

a higher education program “is not a protected interest,” citing Barnes v.

Symeonides, 1995 WL 10518, at *2 (5th Cir. Jan. 3, 1995), which concluded

that “post-graduate or professional education ... is not a right afforded either

explicit or implicit protection under the Constitution”).

      Ultimately, however, Welski’s failure to brief the issue renders it

unnecessary to delve more deeply into the issue. It is enough to conclude that

Welski has not met her burden to allege and show, under Georgia’s second step,

that the conduct underlying her Title II claim violates the Fourteenth

Amendment.

            3.    Welski has not shown that Title II’s abrogation of sovereign
                  immunity is valid.

      Given Welski’s failure to show a direct Fourteenth Amendment violation,

this Court ordinarily would proceed to step three of Georgia’s test: determining

if Title II’s abrogation of sovereign immunity is valid. This limitation flows

from Section 5 of the Fourteenth Amendment, which “grants Congress the

power to enforce the substantive guarantees contained in § 1 by enacting

‘appropriate legislation.’” Bd. of Trustees of Univ. of Ala. v. Garrett, 531 U.S.

356, 365 (2001) (quoting City of Boerne v. Flores, 521 U.S. 507, 536 (1997)).



                                       16
  Case 4:24-cv-00863    Document 19    Filed on 01/28/25 in TXSD   Page 17 of 24




      The Supreme Court has recognized, however, that “Congress’ power ‘to

enforce’ the [Fourteenth] Amendment includes the authority both to remedy

and to deter violation of rights guaranteed thereunder by prohibiting a

somewhat broader swath of conduct” than what the Amendment’s text forbids.

See id. (quoting Kimel v. Fla. Bd. of Regents, 528 U.S. 62, 81 (2000)).

“Accordingly, § 5 legislation reaching beyond the scope of § 1’s actual

guarantees must exhibit ‘congruence and proportionality between the injury to

be prevented or remedied and the means adopted to that end.’” Id. (quoting

City of Boerne, 521 U.S. at 520). This inquiry, in turn, requires a court to

determine what limitations Section 1 of the Fourteenth Amendment places on

the state with respect to the challenged conduct, and then “whether Congress

identified a history and pattern” of such conduct by the states that the statute

seeks to remedy. See id. at 365, 368 (addressing disability discrimination in

employment under Title I of the ADA); see also, e.g., Tennessee v. Lane, 541

U.S. 509, 526-32 (2004) (conducting this inquiry with respect to Title II’s

application to the right of access to the courts).

      As the foregoing framework reflects, this is not a simple determination.

Yet nowhere has Welski attempted to address it. She merely recites the legal

standard, even though the Center challenged her ability to satisfy that

standard. Compare Dkt. 9 at 5-6 (arguing that “Title II’s requirement that

states provide disabled individuals access to state programs” would exceed the


                                        17
  Case 4:24-cv-00863   Document 19     Filed on 01/28/25 in TXSD   Page 18 of 24




bounds of rational-basis review, which the Fifth Circuit applies to disability

discrimination) (quoting Baker v. Univ. of Tex. Health Sci. Ctr. Hous., 2011 WL

1549263, at *3 (S.D. Tex. Apr. 21, 2011)), with Dkt. 12 at 11 (quoting Douthit

v. Collier, 2022 WL 5240152, at *3 (5th Cir. Oct. 5, 2022) (per curiam), which

quoted Pickett, 37 F.4th at 1026)).

      Moreover, the Fifth Circuit has yet to determine whether its prior

decision in Reickenbacker v. Foster, 274 F.3d 974, 975 (5th Cir. 2001), holding

that Title II did not validly abrogate states’ sovereign immunity, remains good

law with respect to disability discrimination that does not involve access to the

courts. See Pace v. Bogalusa City Sch. Bd., 403 F.3d 272, 277 n.14, 287 (5th

Cir. 2005) (en banc) (observing that Reickenbacker’s application to access to

courts was overruled in Lane, but its “continuing validity” other than that

context is “uncertain”; finding it “unnecessary” to resolve the issue). This

Court is “not free to overturn the rule” pronounced in Reickenbacker, as only

the Fifth Circuit can determine whether subsequent authority warrants

revisiting the issue. See In re Bonvillian Marine Serv., Inc., 19 F.4th 787, 789

(5th Cir. 2021) (noting that the district court was bound by a prior Fifth Circuit

decision; concluding that subsequent Supreme Court decisions changed the

law, “warrant[ing] a change in course”).

      Regardless, Welski’s failure to brief the issue forecloses any need to

examine it. See, e.g., Shaikh, 739 F. App’x at 225 (finding that plaintiff waived


                                       18
    Case 4:24-cv-00863   Document 19     Filed on 01/28/25 in TXSD    Page 19 of 24




the issue because he “failed to brief any meaningful argument that Congress’s

purported abrogation is ‘nevertheless valid’”). She has not met her burden to

show that the Center’s sovereign immunity was validly abrogated.

Accordingly, her Title II claim should be dismissed for lack of jurisdiction.

II.     Welski’s Rehabilitation Act claim is untimely.

        The Center’s sovereign immunity does not affect Welski’s Rehabilitation

Act claim. This is because the Center’s receipt of federal funds waives its

sovereign immunity for discrimination claims under the Act. See Miller v. Tex.

Tech Univ. Health Scis. Ctr., 421 F.3d 342, 345 (5th Cir. 2005) (en banc);

29 U.S.C. § 794(a) (prohibiting disability discrimination by “any program or

activity receiving Federal financial assistance”). Instead, the Center argues

that the statute of limitations bars Welski’s Rehabilitation Act claims. See

Dkt. 9 at 7. 4

        Because the Rehabilitation Act does not prescribe a limitations period,

the operative period is borrowed from state law. See Frame v. City of Arlington,

657 F.3d 215, 237 (5th Cir. 2011). Texas’s two-year limitations period for

personal-injury suits therefore applies. See id. The accrual period, however,

is governed by federal law. See id. at 238. As with other federal claims, a


4 The Center’s reply brief withdrew its further contention (in Dkt. 9 at 10-13),
premised on state law, that Welski’s failure to timely effectuate service of process
bars her claim. See Dkt. 15 at 5-6 (conceding that West v. Conrail, 481 U.S. 35 (1987),
forecloses applying a state’s service-of-process requirements to a federal claim).


                                          19
  Case 4:24-cv-00863   Document 19    Filed on 01/28/25 in TXSD   Page 20 of 24




Rehabilitation Act claim accrues when the plaintiff “becomes aware that [she]

has suffered an injury or has sufficient information to know that [she] has been

injured.” See id.

      According to the Center, Welski’s claim is untimely because her

allegations target acts and events that occurred nearly four years ago.

See Dkt. 9 at 9. The Center cites Welski’s allegations that she was denied

accommodations for her disability in the Fall of 2020. See id. at 10. Under the

Center’s view, the limitations period expired in 2022, two years before she filed

this suit. Id.

      In response, Welski contends that her claims accrued much later, when

the Center dismissed her from the program on March 8, 2022. See Dkt. 12 at

13. Welski reasons that the “statute of limitations can only run from the date

of the injury for which Plaintiff seeks a remedy,” and that the “damages claims

are based on her dismissal.” Id. Welski downplays the numerous allegations

regarding the Center’s denials of accommodation, characterizing those

assertions as mere “background” and “not necessarily in themselves the basis

of claims for which she seeks a remedy.” Id.

      The Center’s reply disputes Welski’s characterization. See Dkt. 15 at 3.

As the Center notes, “Welski spends the vast majority of her Original

Complaint alleging that [the Center] failed to accommodate Welski’s alleged

disability when it specifically refused her requests for accommodation—not in


                                       20
  Case 4:24-cv-00863   Document 19     Filed on 01/28/25 in TXSD   Page 21 of 24




alleging that her eventual dismissal was a violation of the ADA.” Id. at 4.

According to the Center, Welski’s focus on the lack of accommodations means

her claims accrued in 2020. See id. at 5.

      The Center’s position is correct.     Welski’s allegations show that her

Rehabilitation Act claim hinges on the Center’s alleged denial of

accommodations, which led to her dismissal from the UT Health graduate

program. Under Welski’s narrative, the program demanded that “she complete

courses that were previously left incomplete because of UT Health’s own

failure to grant appropriate accommodations,” with professors refusing to

believe the seriousness of her conditions. See Dkt. 1 at 6, 4-6. The complaint

makes clear that it is those denials of “reasonable and necessary requests for

accommodation”—all occurring more than two years before she filed this suit,

see id. at 7—that “l[ed] to her dismissal,” see id. This is also apparent from her

assertion that the Center wrongfully deprived her “of her equal opportunity to

pursue the doctoral degree, which she would have achieved if provided the

accommodations she requested.” See id.

      Welski does not dispute that any claims premised on the denial of

accommodations are untimely. Courts have concluded that each such denial

constitutes a discrete act that triggers the limitations period. See Henson v.

Bell Helicopter Textron, Inc., 128 F. App’x 387, 391 (5th Cir. 2005) (plaintiff’s

complaints about specific denials of accommodation requests were “discrete


                                       21
  Case 4:24-cv-00863   Document 19     Filed on 01/28/25 in TXSD   Page 22 of 24




acts” that “do not qualify under the continuing violation exception to the ADA’s

actionable period restrictions”); Profit v. Klein Indep. Sch. Dist., 2015 WL

3866720, at *10 (S.D. Tex. June 23, 2015) (relying on Henson and analogous

conclusions in Elmenayer v. ABF Freight Sys., Inc., 318 F.3d 130, 135 (2d Cir.

2003); Aubrey v. City of Bethlehem, Fire Dep’t, 466 F. App’x 88, 93 (3d Cir.

2012), and Proctor v. United Parcel Serv., 502 F.3d 1200, 1210 (10th Cir. 2007));

see also, e.g., Valenzuela v. Univ. of Tex. at Austin, 2022 WL 958386, at *4 (W.D.

Tex. Mar. 30, 2022) (applying this principle and concluding that Title II failure-

to-accommodate claims were time-barred). Based on her allegations, Welski’s

complaints about various failures to accommodate accrued during the Fall of

2020 or shortly thereafter, all outside the two-year limitations period.

      Welski cannot revive those time-barred allegations by focusing on her

subsequent dismissal from the program in March 2022. A plaintiff cannot

resurrect untimely discrimination allegations to establish that a subsequent

discrete act, even if related, was discriminatory. See Nat’l R.R. Passenger

Corp. v. Morgan, 536 U.S. 101, 114-15 (2002) (disallowing claims premised on

discrete discriminatory acts that occurred outside the limitations period); see

also Berry v. Bd. of Supervisors of L.S.U., 715 F.2d 971, 979 (5th Cir. 1983)

(“The plaintiff ... may not employ the continuing violation theory to resurrect

claims about discrimination concluded in the past, even though its effects




                                       22
  Case 4:24-cv-00863     Document 19   Filed on 01/28/25 in TXSD   Page 23 of 24




persist.”) (citing Del. State Coll. v. Ricks, 449 U.S. 250, 257 (1980)) (quotation

omitted); Henson, 128 F. App’x at 391 (applying Morgan to ADA case).

      Here, the allegations belie Welski’s characterization of the failures to

accommodate as mere “background” facts. See Dkt. 12 at 13. Rather, the

complaint alleges that her dismissal—which occurred just within the two-year

limitations period—was discriminatory only because the prior denial of

accommodations rendered Welski unable to complete her course work. See

Dkt. 1 at 1, 6 (dismissal on March 8, 2022); id. (complaint filed March 7, 2024).

Excising those time-barred failures to accommodate leaves Welski with no

actionable Rehabilitation Act claim.        Accordingly, that claim should be

dismissed as untimely.

                              Recommendation

      For the foregoing reasons, it is RECOMMENDED that Defendant The

University of Texas Health Science Center at Houston’s motion to dismiss

(Dkt. 9) be GRANTED.

      It is further RECOMENDED that Plaintiff Alison Welski’s claim under

Title II of the Americans with Disabilities Act be DISMISSED WITHOUT

PREJUDICE for lack of subject matter jurisdiction.

      It is further RECOMMENDED that Welski’s Rehabilitation Act claim

be DISMISSED WITH PREJUDICE for failure to state a claim upon which

relief can be granted.


                                       23
 Case 4:24-cv-00863   Document 19   Filed on 01/28/25 in TXSD   Page 24 of 24




     The parties have fourteen days from service of this Report and

Recommendation to file written objections. 28 U.S.C. § 636(b)(1); Fed.

R. Civ. P. 72(b).     Failure to file timely objections will preclude

appellate review of factual findings and legal conclusions, except for

plain error. Ortiz v. City of San Antonio Fire Dep’t, 806 F.3d 822, 825

(5th Cir. 2015).

     Signed on January 28, 2025, at Houston, Texas.

                                             __________________
                                                              ______________
                                            ______________________________
                                             vonnne Y
                                            Yvonne  Y.. Ho
                                              nite
                                                 ed States Magistrate
                                            United         Magistrate Judge




                                    24
